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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

UNITED STATES OF AMERICA

v. C(Jriminal No. \7;'*‘33/8/

18 U.S.C. §3

vv\./vv

CHRISTINE ANN KEBR
INFORMATION

The United States Attorney charges:

At all times material to this Information:

1. The City of Pittsburgh (hereinafter "City") was a local
government as defined. by 'Title 18, United States Code, ‘Section
eee<a) <1). 1

2. The City of Pittsburgh Bureau of Police (hereinafter
"Police Department") was a department of the City of Pittsburgh and
thus a "government agency", as defined by Title 18, United States
Code, Section 666(d)(2).

3. The City and the Police Department received, during the
calendar years 2006, 2007, 2008 and 2009, benefits in excess of
$l0,000 under federal programs involving grants, contracts, subsidies
or loans.

4. The defendant, CHRISTINE ANN KEBR, was a resident of the
Western District of Pennsylvania and an employee of the City of
Pittsburgh and thus an "agent" of the City as defined by Title 18,
United States Code, Section 666(d)(l).

5. Victory Security was a company located in the Western

District of Pennsylvania and was controlled by AB, a person known to

the United States Attorney.

 

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6. Alpha Outfitters, LLC (hereinafter “Alpha Outfitters) was

a company located in the Western District of Pennsylvania.
THE CONSPIRACY AND ITS OBJECTS

7. From in and around September 2006, and continuing
thereafter until in and around December 2009, in the Western District
of Pennsylvania and elsewhere the defendant, CHRISTINE ANN KEBR,
knowingly and willfully did conspire, combine, confederate and agree
together with AB, a person known to the United States Attorney, to
commit an offense against the United States, that is Bribery
Concerning Programs Receiving Federal Funds, in violation of Title
18, United States Code, Section 666(a)(1)(B).

MANNER AND MEANS OF THE CONSPIRACY

8. It was a part of the conspiracy that in and around the

summer of 2006, the City of Pittsburgh initiated a review to
outsource the duties of the City Radio Shop, which included the

installation of radios and mobile data terminals (MDTs), as a cost

 

savings measure.

9. It was further a part of the conspiracy that on or about
September 15, 2006, the defendant, CHRISTINE ANN KEBR, met with AB
and an individual known to the United States Attorney to discuss the
creation of a business in which the defendant, CHRISTINE ANN KEBR, AB
and another individual known to the United States Attorney would each
be a partner with. the purpose to obtain. a contract to work on

Pittsburgh Police vehicles.

 

 

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10. lt was further a part of the conspiracy that on or about
October 27, 2006, the defendant, CHRISTINE ANN KEBR, met with AB and
an individual known to the United States Attorney to further discuss
the creation of the business set out in paragraph 9, above. During
the meeting, they discussed business costs, locations, and the
specifics of installing MDTs. It was agreed that the defendant,
CHRISTINE ANN KEBR, would assist in the preparation of bid documents.

11. It was further a part of the conspiracy that in and around
the fall of 2006, the defendant, CHRISTINE ANN KEBR, met with AB
wherein AB stated that he was creating a new company, Alpha
Outfitters, to bid for the contract and that the company would be
owned by a "straw" owner, an individual known to the United States
Attorney.

12. It was further a part of the conspiracy that in and around
March 2007, the defendant, CHRISTINE ANN KEBR, in her role as a City
employee, assisted in the preparation of a Request for Proposal by
the City of Pittsburgh for the installation and maintenance of MDTs
and other emergency equipment in City owned vehicles (hereinafter
"equipment contract").

13. It was further a part of the conspiracy that in and around
May 2007, the defendant, CHRISTINE ANN KEBR, met with AB at the
offices of Victory Security and assisted in drafting the bid of Alpha
Outfitters that was submitted to the City in order to obtain the
equipment contract. The bid falsely represented that Alpha

Outfitters was a wholly owned Women's Business Enterprise (WBE). The

 

 

 

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names of the defendant, CHRISTINE ANN KEBR, and AB did not appear in
any of the paperwork supporting the bid.

14. It was further a part of the conspiracy that in and around
July 2007, the defendant, CHRISTINE ANN KEBR, in her role as a City
employee, reviewed the bid from Alpha Outfitters and recommended that
it be accepted. The City subsequently awarded the equipment contract
to Alpha Outfitters.

15. It was further a part of the conspiracy that in and around
December 2007, AB gave the defendant, CHRISTINE ANN KEBR, an envelope
containing $3,000 in cash as payment for her assistance in obtaining
the equipment contract.

16. It was further` a part of the conspiracy that between
September 2006 through 2009, the City paid Alpha Outfitters
approximately $327,729.40 for the installation of equipment under the
equipment contract.

OVERT ACTS

In furtherance of the conspiracy, and to effect the objects of
the conspiracy, the defendant, CHRISTINE ANN KEBR, and AB, did commit
and cause to be committed, the following overt acts, among others, in
the Western District of Pennsylvania:

(a) On or about September 15, 2006, the defendant,
CHRISTINE ANN KEBR, met with AB and an individual known to the United
States Attorney to discuss the creation of a business in order to

obtain a contract to work on Pittsburgh Police vehicles.

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(b) On or about October 2, 2006, a business having the
same address as AB's residence, Renaissance Day Spa of Robinson, LLC,
filed paperwork with the Pennsylvania Department of State to change
its name to Alpha Outfitters, LLC, On December 7, 2006, Alpha
Outfitters, LLC, changed its address to the same address as Victory
Security.

(c) In and around December of 2006, the defendant,
CHRISTINE ANN KEBR, supervised the installation of MDTs by Alpha
Outfitters as a demonstration to the City of Alpha Outfitters'
performance.

(d) On or about February 9, 2007, the City paid Alpha
Outfitters for the MDT installation by check mailed to Alpha
Outfitters at the business address of Victory Security.

(e) In and around March 2007, the defendant, CHRISTINE ANN
KEBR, assisted in the creation of a Request for Proposal (hereinafter
“RFP”) for the installation and maintenance of MDTs and the emergency
equipment in city owned vehicles.

(f) In and around April 2007, AB advised the defendant,
CHRISTINE ANN KEBR, that since he could not pay her directly her
share in Alpha Outfitters, that AB would pay her spouse and show the
spouse as an employee. The defendant, CHRISTINE A. KEBR, declined
this arrangement.

(g) In and around May 2007, Alpha Outfitters signed a

lease for a garage located at 3327 West Carson Street, Pittsburgh,

 

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Pennsylvania, to install MDTs in City vehicles. This arrangement was
coordinated by AB.

(h) In and around May 2007, the defendant, CHRISTINE A.
KEBR, met AB at the offices of Victory Security and assisted in the
preparation of Alpha Outfitters' bid for the equipment contract. The
bid listed Alpha Outfitters as a Women's Business Enterprise and did
not include the names of AB or the defendant, CHRISTINE A. KEBR.

(I) On or about July 27, 2007, the defendant, CHRISTINE
A. KEBR, recommended that the City award the equipment contract to
Alpha Outfitters.

(j) From on or about December 8, 2006, to on or about
July 28, 2008, the defendant, CHRISTINE A. KEBR, assisted in the
creation of invoices and work statements for Alpha Outfitters, to
submit to the City for payment, which inflated the amount of work
performed by Alpha Outfitters.

(k) In and around December 2007, AB provided $3,000 to the
defendant, CHRISTINE A. KEBR.

(l) From on or about October 24, 2007, to on or about
December 15, 2009, the defendant, CHRISTINE ANN KEBR, and AB, caused
the City to pay Alpha Outfitters approximately $327,229.40 under the
equipment contract.

All in violation of Title 18, United States Code, Section 37l.

 

DAVi\Q/J. HICKTON
United States Attorney
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